953 F.2d 640
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES OF AMERICA, Plaintiff-Appellee,v.Anthony Marion Lopez, a/k/a Tony, a/k/a Kistee, Defendant-Appellant.
    No. 91-7722.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  January 10, 1992Decided:  February 4, 1992As Amended Feb. 12, 1992.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Walter E. Black, Jr., Chief District Judge.  (CR-89-95, CA-91-1832)
      Anthony Marion Lopez, Appellant Pro Se.  Miriam Aroni Krinsky, Assistant United States Attorney, Baltimore, Maryland, for Appellee.
      Before WIDENER and NIEMEYER, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Anthony Marion Lopez appeals from the district court's order refusing relief under 28 U.S.C. § 2255 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Lopez, Nos.  CR-89-95, CA-91-1832 (D. Md. Sept. 9, 1991).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    